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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

IN RE:                                                    *      MISCELLANEOUS CASE

MCCLENNY MOSELEY & ASSOCIATES PLLC                        *      NO. 3:23-MC-00062

                                                          *     JUDGE JAMES D. CAIN, JR.

            MOTION AND INCORPORATED MEMORANDUM IN SUPPORT
            OF MOTION TO STAY THE COURT’S AUGUST 22, 2023 ORDER

       NOW INTO COURT, through undersigned counsel, MMA Law Firm, PLLC (formerly,

McClenny Moseley & Associates PLLC) (“MMA”) and J. Zachary Moseley (“Moseley”), hereby

respectfully file this Motion and Incorporated Memorandum in Support of Motion to Stay the

Court’s August 22, 2023 Order pending appeal.

I.     Background

       The Court opened this in re miscellaneous matter to consolidate disciplinary proceedings

for individual Louisiana-licensed MMA attorneys whom had made appearances for property owner

plaintiffs. The Court suspended the MMA attorneys’ ability to practice in this Court. Initially, the

Court’s actions suspending these attorneys did not implicate MMA’s property interests. After

several individual MMA attorneys sought to reduce their suspensions, the Court conducted

hearings on those specific requests. One such hearing was conducted on August 8, 2023, during

which the Court ordered Mr. Moseley to deliver settlement checks in MMA’s possession. Two

weeks later, the Court issued an order (the “August 22 Order”), which stated:

       IT IS ORDERED that the law firm of McClenny, Moseley & Associates, PLLC,
       McClenny Law Group, Inc. or Moseley Law Group, Inc. (MMA), the individual
       attorneys of the firm, including but not limited to Zach Moseley and all related
       parties (MMA and related Parties) are not entitled to any attorney fees, costs and/or
       expenses in any of the cases attached herein as Exhibit A.
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        IT IS FURTHER ORDERED that MMA and related parties have no property
        interest/ownership in the proceeds of any cases pending in this Court, including the
        attached cases in Exhibit A.1

Exhibit A appears to list matters which MMA, on behalf of plaintiff-property owners, previously

settled out of court and for which insurance companies had tendered payment checks. The second

part of the August 22 Order additionally affects cases filed and being litigated in court.2

        Meanwhile, MMA’s lenders moved to intervene to protect their property interests in case

proceeds,3 but the Court denied the motion.4 On September 21, 2023, MMA and Mr. Moseley

noticed their appeal of the August 22 Order.5 Five days later, the Court issued an order “affirm[ing]

that neither … Moseley nor [MMA] is entitled to any withholding of attorney’s fees from the

settlement check owed to [Mr.] Sonnier[.]”6

        Though this Court was divested of jurisdiction once the notice of appeal was filed, out of

an abundance of caution, considering that MMA has no way of knowing how the Court’s

declarations are being or will be implemented, MMA and Mr. Moseley now request that the Court

stay execution of its August 22 Order pending resolution of MMA’s appeal.

II.     Argument and Authorities

            A. Mandatory Stay: MMA’s Appeal Divested this Court of Jurisdiction.

        It is settled that “[a]n appeal … ‘divests the district court of its control over those aspects

of the case involved in the appeal.” Coinbase, Inc. v. Bielski, 599 U.S. 736, 740 (2023). This

sensible, one-court-at-a-time jurisdictional doctrine is known as the Griggs principle:

        [I]t [i]s generally understood that a federal district court and a federal court of
        appeals should not attempt to assert jurisdiction over a case simultaneously. The

1
         Rec. Doc. 37. Pp. 2-3.
2
         In both instances, MMA’s lenders have perfected security interests and vested property rights. MMA’s
lenders attempted to intervene in the matter, but their request was denied. The lenders have appealed.
3
         Rec. Doc. 39.
4
         Rec. Doc. 43.
5
         Rec. Doc. 45.
6
         Rec. Doc. 49.

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         filing of a notice of appeal is an event of jurisdictional significance—it confers
         jurisdiction on the court of appeals and divests the district court of its control over
         those aspects of the case involved in the appeal.

Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982). Applying Griggs to a request

to stay district court proceedings pending an interlocutory appeal on the question of arbitrability,

the Supreme Court held that a stay was required, indeed, automatic. Coinbase, Inc., 599 U.S. at

744 (observing that the “Griggs principle already requires an automatic stay of district court

proceedings that relate to any aspect of the case involved in the appeal.”).

         Here, MMA has appealed the August 22 Order and awaits a briefing order.7 MMA has

appealed the Court’s categorical declaration that MMA had no property interest in case proceeds

of cases pending in the Western District or in settlement proceeds of matters settled inside the

geographic boundaries of the Western District. Applying the Griggs principle, considering that

jurisdiction vested with the Fifth Circuit over the legal issues involved in the appeal, a stay with

respect to the Court’s power to so declare and as to the substance of the declaration itself should

be automatic. See, e.g., Griggs, 459 U.S. at 58.

         In an abundance of caution, MMA and Mr. Moseley respectfully request that the Court

maintain the status quo pending appellate review. Given that additional orders have issued since

August 22 and since MMA noticed its appeal of the order,8 and given that the Order leaves

implementation to the discretion of the Court, and to other non-parties to the disciplinary matter—

MMA and Mr. Moseley move the Court to stay execution of its August 22 Order pending appeal.9


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          All told, there are three separate appeals of three separate orders issued in this miscellaneous case. Ostensibly,
the August 22 Order is not interlocutory in nature, but, rather, is a final order adjudicating MMA’s property interest in
case and settlement proceeds.
8
          See, e.g., Rec. Doc. 49 (“the undersigned hereby AFFIRMS that neither Zach Moseley nor [MMA] is entitled
to any withholding of attorney fees from the settlement check owed to [particular client] from his Hurricane Laura
suit against [insurance company].”).
9
          Consistent with Federal Rule of Appellate Procedure 8(a), a stay request should be made in the first instance
with the district court, which retains jurisdiction to rule on such a request. See Matter of Miranne, 852 F.2d 805, 806
(5th Cir. 1988).

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           B. Discretionary Stay: A Stay Pending Appeal Is Warranted.

       “A stay pending appeal ‘simply suspends judicial alteration of the status quo.’” Veasey v.

Perry, 769 F.3d 890, 892 (5th Cir. 2014) (citing Nken v. Holder, 556 U.S. 418, 429 (2009)).

Though a stay pending appeal is “extraordinary relief,” it is left to the court’s discretion and

depends on the circumstances of the case. Plaquemines Parish v. Chevron USA, Inc., 84 F.4th 362,

373 (5th Cir. 2023) (citing Nken, 556 U.S. at 433-34). Stays of sanctions orders are often

appropriate pending appeal, especially where such sanctions are of a punitive nature. See, e.g.,

Nat. Gas. Pipeline Co. of Am. V. Energy Gathering, Inc., 86 F.3d 464, 466 (5th Cir. 1996) (noting

that a prior Fifth Circuit panel stayed a sanctions order against a non-party in possession of

discoverable material, and eventually mostly reversed the sanctions order as overly punitive).

       Four factors inform whether a court should grant a discretionary stay pending appeal: (1)

whether the movant has made a showing of likelihood of success on the merits, (2) whether the

movant will be irreparably injured if the stay is not granted, (3) whether a stay would substantially

harm the other parties, and (4) whether a stay would serve the public interest. See United States v.

Baylor Univ. Med. Ctr., 711 F.2d 38, 39-40 (5th Cir. 1983); Plaquemines Parish, 84 F.4th at 373

(referring to the four factors as “the Nken factors”). “The first two factors … are the most critical.”

Veasey, 769 F.3d at 892 (citing Nken, 556 U.S. at 434). The factors should not be applied in a

rigid, mechanical fashion. For instance, when a serious legal question is involved, the movant

need only present a substantial case on the merits and show that the balance of the equities weighs

in favor of a stay. See Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. 1981).

       In Ruiz, the trial court had imposed a sweeping injunction concerning specific changes to

a state prison system. On appeal, the Fifth Circuit stayed portions of that injunction, noting:

       We … hold that on motions for stay pending appeal the movant need not always
       show a “probability” of success on the merits; instead, the movant need only present
       a substantial case on the merits when a serious legal question is involved and show

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        that the balance of the equities weighs heavily in favor of granting the stay.
        Providence Journal v. Federal Bureau of Investigation, 595 F.2d 889 (1st Cir.
        1979); see Houston Insulation Contractors Ass'n v. N.L.R.B., 339 F.2d 868, 870 (5th
        Cir. 1964). If a movant were required in every case to establish that the appeal
        would probably be successful, the Rule would not require as it does a prior
        presentation to the district judge whose order is being appealed. That judge has
        already decided the merits of the legal issue.

Id. at 565; see also Plaquemines Parish, 84 F.4th at 373 (reiterating Ruiz’s “substantial case on the

merits” gloss on the first stay factor).

    Each of the four factors favors a stay pending appeal.

    1. MMA has shown a likelihood of success on the merits and a substantial case on the merits.

        The “substantial case on the merits” formulation applies, rather than the “likelihood of

success” formulation. Regardless, MMA’s and Mr. Moseley’s stay request passes both tests.

        MMA makes a strong showing that it is likely to succeed on the merits. Serious legal—

indeed, justiciability and constitutional—questions are presented. First, the Court’s August 22

Order was issued in the absence of a case or controversy and, thus, the Court was without

jurisdiction to issue broad declaratory relief in favor of non-parties to the miscellaneous

disciplinary proceeding.       Courts are confined to resolve concrete disputes—“cases or

controversies”—properly presented and briefed by adversaries. TransUnion LLC v. Ramirez, 594

U.S. ---, 141 S. Ct. 2190, 2205 (2021)(citation omitted). The Supreme Court “underst[ands] that

constitutional phrase to require that a case embody a genuine, live dispute between adverse parties,

thereby preventing the federal courts from issuing advisory opinions.” Carney v. Adams, 592 U.S.

---, 141 S. Ct. 493, 498-99 (2020)(citations omitted). Stated differently, “courts have ‘no business’

deciding legal disputes or expounding on law in the absence of such a case or controversy.”

Already, LLC v. Nike, Inc., 568 U.S. 85, 90 (2013); accord Wilson v. Zarhadnick, 534 F.2d 55, 57

(5th Cir. 1976) (“[courts] are not permitted the luxury of issuing advisory opinions,[]” and thus

may not take action that is “in no way responsive to the pleadings in the case.”). Critically, when

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no such case or controversy is before the court, that is, “when a court lacks jurisdiction, it is

emphatically powerless to reach the merits.” Spivey v. Chitimacha Tribe of Louisiana, 79 F.4th

444, 449 (5th Cir. 2023). Yet, that is precisely what the Court’s August 22 Order did: in the absence

of any case or controversy presenting, framing, or briefing the issue of MMA’s property rights, the

Court categorically adjudicated the merits of MMA’s entitlement to case and settlement proceeds.10

Because this Court sua sponte envisioned a controversy and then resolved an unmade (non-

justiciable) “claim,” MMA has a substantial case regarding whether Court exceeded its limited

jurisdictional authority.11

         Second, MMA and Mr. Moseley make a substantial case on the merits of a serious

constitutional question insofar as the August 22 Order extinguishes MMA and Mr. Moseley of

their property rights without a pre-deprivation hearing or opportunity to be heard, in violation of

their constitutional due process rights.               “Procedural due process imposes constraints on

governmental decisions which deprive individuals of ‘liberty’ or ‘property’ interests within the


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          The August 22 Order purports to adjudicate claims not presented to the Court. Former MMA clients that are
represented by the settlement checks listed in Exhibit A of the August 22 Order—presumably, the only conceivable
“parties” that would be aggrieved by MMA’s alleged misconduct—have not sued MMA, sought disgorgement of fees,
alleged breach of contract, or otherwise sought to invalidate MMA’s entitlement to its contractual fee agreements. The
singular law firm attempting to achieve the no-fee-entitlement declaration made by this Court failed to persuade the
Eastern District that it had Article III jurisdiction. See Morris Bart, LLC v. McClenny Moseley & Assocs., PLLC, No.
23-1453, 2023 WL 6809815 (E.D. La. Oct. 16, 2023) (Africk, J.) (dismissing for lack of Article III standing law firm’s
claims seeking broad declarations that rival law firm, MMA, is not entitled to attorney’s fees based on alleged
professional misconduct, with the court observing that “such fact-specific disputes are far more appropriately
redressed by the courts hearing these specific cases.”). Serious legal questions concerning the effect of the August 22
Order on any potential legal dispute between MMA and its clients exist. The Order invites an argument that the Order
is res judicata as to those potential future claims, which have not even been pleaded, much less litigated. See, e.g.,
Rec. Doc. 54 filed in Civil Action No. 2:22-cv-3855, in which plaintiff’s counsel argued that “this Court already held,
in August of 2023, that MMA is not entitled to recover fees from any case filed in this district.” But see Rec. Doc. 45
in Civil Action No. 2:22-cv-3855 (post-August 22 memorandum order in which magistrate judge does not mention
this Court’s previous, presumably binding August 22 declaration and ostensibly independently finds that MMA has
no right to attorney’s fees), construed as report and recommendation and ostensibly adopted by this Court at Rec. Doc.
58 in the same case (notably absent from this Court’s memorandum order is any mention of the ostensibly binding
August 22 Order invoked by plaintiff’s counsel).
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          With respect to settlement proceeds, insofar as the August 22 Order was based on the Court’s inherent
sanctioning authority, the jurisdictional impediment is even more glaring because matters settled out of Court were
never before the Court. Cf. Positive Software Solutions, Inc. v. New Century Mortg. Corp., 619 F.3d 458,460-61 (5th
Cir. 2010) (conduct in collateral proceedings such as arbitration or other informal means of private dispute settlements
is beyond the reach of the court’s inherent authority to sanction).

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meaning of the Due Process Clause of the Fifth or Fourteenth Amendment.” Swindle v. Livingston

Par. Sch. Bd., 655 F.3d 386, 392 (5th Cir. 2011) (quoting Mathews v. Eldridge, 424 U.S. 319, 332

(1976)). Notice and an opportunity to be heard must precede any deprivation of property.

Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985) (“An essential principle of due

process is that a deprivation of life, liberty, or property be preceded by notice and opportunity for

hearing appropriate to the nature of the case.”) (internal quotation marks omitted). The opportunity

to be heard is “the most fundamental requirement” under our system of justice. N.Y. Life Ins. Co.

v. Brown, 84 F.3d 137, 143 (5th Cir. 1996) (citation omitted).

       Notwithstanding MMA’s vested interest in case and settlement proceeds, MMA had no

notice or opportunity to be heard before the Court declared that MMA and related parties have no

such interest in the Western District. The August 8 hearing was noticed as a hearing to determine

whether individual attorneys’ suspensions should be reduced. No one expected or requested that

the Court adjudicate—much less that it had the jurisdictional power, legal authority, or factual

predicate, to rule on—any conceivable interest in fees as to any of the cases pending (or settlements

confected) in the Western District. The Court provided no notice that it was contemplating this

punitive and drastic measure. No rule to show cause issued before divesting MMA of settlement

proceeds or extinguishing its entitlement to claim its interest in case proceeds.

       As to this due process issue which is on appeal to the Fifth Circuit—whether MMA’s and

Mr. Moseley’s vested property rights in case and/or settlement proceeds entitled MMA and Mr.

Moseley to be heard prior to the judicial extinguishment of those rights—the above-cited Supreme

Court jurisprudence answers yes. Because MMA’s fundamental constitutional and property rights

were extinguished by the August 22 Order absent pre-deprivation notice and an opportunity to be

heard, a stay of that Order pending appeal is appropriate. MMA and Mr. Moseley have shown a

substantial case (and, a probability of success) on the merits as to this serious constitutional issue.

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        Furthermore, insofar as the August 22 Order is predicated on the Court’s inherent sanction

power, there is a substantial legal question as to whether a trial court exceeds its inherent power

when it categorically extinguishes a law firm’s (or its principal’s) vested property interest even

with notice to that party. MMA and Mr. Moseley thus have a substantial case on appeal for a third

reason. The Court’s inherent power is scrutinized to ensure necessity and appropriateness under

an exacting standard:

        Because of the potency of inherent powers and the limited control of their exercise,
        … they must be used with great restraint and caution. The threshold for the use of
        the inherent power sanction is high. Such powers may be exercised only if essential
        to preserve the authority of the court and the sanction chosen must employ “the
        least possible power adequate to the end proposed.” If there is a reasonable
        probability that a lesser sanction will have the desired effect, the court must try the
        less restrictive measure first.

Nat. Gas. Pipeline Co., 86 F.3d at 466 (internal citations omitted). Considering that sanctions have

issued against MMA and its individual attorneys in numerous cases, and that the August 22

sanction destroys MMA’s (and its lenders’) vested property rights, MMA has a substantial case

that the August 22 Order does not utilize the “least possible power” to obtain compliance and that

a lesser sanction may have the desired effect.

        MMA and Mr. Moseley have amply demonstrated a substantial case on the merits as to no

less than three serious legal issues. Even the more exacting standard is met. The critical first

factor favors a stay.

    2. MMA has and will suffer an irreparable injury if the August 22 Order is not stayed.

        As to the second critical Nken factor, MMA and Mr. Moseley will clearly suffer an

irreparable injury if the August 22 Order is not stayed pending appeal. The Order disallows all

MMA fees in settled matters and pending cases. The Court intends that the checks listed in its

Exhibit A to be processed and distributed excising MMA’s fees. If that occurs before appeal is

heard, MMA’s vested property interest in exigible settlement funds will be diminished or totally

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extinguished. Moreover, the August 22 Order applies to “any cases pending in this Court,” and so

included not only retrospective rights in settled cases, but prospective rights in ongoing cases.

Transferring funds, thereby extinguishing property rights, prior to the determination of MMA’s

and Mr. Moseley’s appeal is irreparable injury. For this reason, retention of the status quo ante is

necessary pending resolution of the serious legal issues implicated in the August 22 Order.

    3. A stay would not harm other parties.

        The third Nken factor likewise supports a stay or is neutral. This is a miscellaneous

disciplinary matter—there is no other party.           Nevertheless, the interest in upholding the

disciplinary rules is great and thus it is worthwhile to consider potential harm to the Court itself,

and arguably the judiciary and the bar, in whose interest sanctions may lie. Even so, there is

minimal harm (and no irreparable harm) in staying the Order pending appeal to ensure that any

sanctions are fashioned consistent with the constitution and are not unduly punitive.

        It is reasonable to analyze the MMA clients’ interests as “other parties.” To be sure, the

Court has legitimate concern that MMA clients timely receive settlement funds. Accomplishing

this goal can be achieved in a manner that does not deprive MMA and related parties of their rights.

For example, the Court could order that the MMA clients be paid the portion of the funds to which

they are indisputably legally entitled under their fee arrangement contracts with MMA,

withholding only those funds contractually designated as attorneys’ fees. In such a scenario, MMA

clients would receive 100% of the proceeds to which they are contractually and legally entitled,

while protecting MMA’s and its lenders’ interests while the Court’s Order is reviewed. Such an

approach protects all parties’ interests in these proceeds.

    4. A stay would serve the public interest.

        The fourth Nken factor supports a stay, or, alternatively, is neutral. The public interests

involved in this matter are identical to the judiciary’s general interest in ensuring fair and impartial

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proceedings and appropriately governing lawyer conduct. For the same reasons set forth above,

that interest has been and may be carried out after MMA’s and Mr. Moseley’s appeal is determined,

whereas conversely, movants’ interests will be immediately harmed if no stay issues.

       There is a further public interest in the fair administration of justice. This matter implicates

parties’ fundamental rights, which apply equally to all citizens. Those rights include the right to

due process, the right to contract, the right against takings, and substantial property rights. A full

and fair adjudication of those rights are in the public interest.

III.   Conclusion and Prayer

       For the reasons set forth above, MMA and Mr. Moseley pray the Court stay its August 22

Order until the U.S. Court of Appeals for the Fifth Circuit resolves MMA’s and Mr. Moseley’s

appeal. A proposed order is attached for the Court’s convenience.



                                               Respectfully submitted,


                                               /s/ William P. Gibbens
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